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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


DEBRA RHODES, et al.,

              Plaintiffs,

v                                                          Case No. 17-CV-14186
                                                           HON. MARK A. GOLDSMITH
RICHARD D. SNYDER,

            Defendant.
_______________________________/

                               ORDER STRIKING EXHIBIT

       On March 15, 2018, Plaintiffs’ filed an Exhibit which is a Proposed Order Granting

Plaintiffs’ Motion for Preliminary Injunction [Dkt. #15]. Pursuant to E.D. Mich. Local Rules

Appendix ECF Rule 11(a), proposed orders must be submitted to the judge to whom the case is

assigned via the link located under the Utilities section of CM/ECF. The order at issue is not in

compliance with the rule.

       IT IS ORDERED, that the Exhibit [Dkt. #15] is STRICKEN.

Dated: March 19, 2018                               s/Mark A. Goldsmith
       Detroit, Michigan                            MARK A. GOLDSMITH
                                                    United States District Judge

                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on March 19, 2018.

                                                    s/Karri Sandusky
                                                    Case Manager
